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  7   Proposed Counsel for Official Committee of Unsecured Creditors
  8
                              UNITED STATES BANKRUPTCY COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
                                     SANTA ANA DIVISION
 10
       In re:                                        Chapter 11
 11
       THE LITIGATION PRACTICE GROUP,                Case No. 8:23-bk-10571-SC
 12    P.C.,
                                                    OFFICIAL COMMITTEE OF
 13                                                 UNSECURED CREDITORS’
                Debtor.                             CONDITIONAL OPPOSITION AND
 14                                                 RESERVATION OF RIGHTS TO
                                                    CHAPTER 11 TRUSTEE’S MOTION
 15                                                 FOR ORDER APPROVING
                                                    STIPULATION BETWEEN THE
 16                                                 DEBTOR; CONSUMER LEGAL GROUP,
                                                    PC; LGS HOLDCO, LLC; AND SET
 17                                                 FORTH, INC. F/K/A DEBTPAYPRO
 18
                                                    Date: July 11, 2023
 19
                                                    Time: 2:00 p.m.
 20                                                 Judge: Hon. Scott C. Clarkson
                                                    Place: Courtroom 5C
 21                                                 411 West Fourth Street
                                                    Santa Ana, California 92701
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  1             The Official Committee of Unsecured Creditors (the “Committee”) of The Litigation
  2   Practice Group, P.C. (the “Debtor”), in the above-referenced bankruptcy case (the “Bankruptcy
  3   Case”) pending under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),1
  4   hereby submits this conditional opposition (the “Opposition”) to the Motion for Order Approving
  5   Stipulation Between the Debtor; Consumer Legal Group, PC; LGS Holdco, LLC, and Set Forth,
  6   Inc. f/k/a DebtPayPro [Docket No. 178] (the “Motion”),2 filed by Richard A. Marshack, the duly-
  7   appointed chapter 11 trustee (the “Trustee”) in the Bankruptcy Case, related to the Stipulation re
  8   Partial Settlement of Claims and Modification of Order on Trustee, Richard Marshack’s Omnibus
  9   Emergency Motion as to Covered Parties and Defendants, Consumer Legal Group, P.C. and LGS
 10   Holdco, LLC (the “Stipulation”). In support of this Conditional Opposition, the Committee refers
 11   to the record in this Bankruptcy Case and the related adversary proceeding, captioned Marshack v.
 12   Diab, et al., Adv. Proc. No. 8:23-ap-01046-SC (the “Adversary Proceeding”), the argument of
 13   counsel at any hearing on the Application, and respectfully states as follows:
 14                                                       I.
 15                                             INTRODUCTION
 16             The Committee files a limited objection to the Trustee’s Stipulation with Consumer Legal
 17   Group, P.C. along with its related company LGS Holdco, LLC (together, “CLG”)3 because the
 18   Trustee has not met his burden of demonstrating how a partial settlement with CLG on the terms
 19   set forth in the Stipulation satisfies the A & C Properties factors. While the Committee welcomes
 20   settlements that bring value to the estate—and is certain a settlement with CLG is plausible with
 21   appropriate disclosure—the Motion is missing critical information for the Trustee to carry his
 22   burden.
 23             The Stipulation is facially premised on two motivations that do not appear supported by the
 24   limited record on the Motion. First, the Trustee claims that the settlement will resolve issues with
 25   1
       Unless otherwise defined herein, all references to “Section” or “§” refer to a section of the
      Bankruptcy Code.
 26
      2
          Unless otherwise defined herein, all capitalized terms have the definitions set forth in the Motion.
 27
      3
        Since entering into the Stipulation, Set Forth, Inc. f/k/a DebtPayProp (“DPP”) has apparently
 28   joined the Stipulation. See Declaration of Richard A. Marshack, ¶ 4.
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  1   the Trustee’s proposed stalking horse bidder under the Sale Motion.4 A review of the Asset
  2   Purchase Agreement does not identify any closing condition or other requirement that obligates the
  3   Trustee to partially, or fully, settle the Adversary Proceeding. Additionally, Trustee concedes that
  4   the Stipulation will only “will resolve all disputes regarding the LPG Fee Shared Clients and
  5   provide income to the Debtor.” Second, the Trustee claims the partial settlement will achieve the
  6   aims of the Amended Complaint filed in the Adversary Proceeding. But, the Stipulation does not
  7   appear to offer the estate any greater relief than the Trustee has already obtained under the
  8   preliminary injunction. Under the Court’s orders, the estate is already entitled to all client files and
  9   certain post-petition Client ACH payments held by the named defendants in the adversary
 10   proceeding including CLG, and to hold in trust any and all funds, receipts and transfers related to
 11   any account file, or current or former client of CLG and certain other named defendants.
 12           Additionally, the Committee’s concern is compounded by the perfunctory analysis of the
 13   factors set forth in Martin v. Kane (In re A & C Properties),784 F.2d 1377, 1380–81 (9th Cir. 1986),
 14   cert. denied, 479 U.S. 854 (1986). There is insufficient evidence to determine what CLG’s
 15   obligations are with respect to LPG Fee Shared Clients, and whether CLG provided consideration
 16   to the Debtor in exchange for its purported entitlement of 60% of the revenues generated therefrom.
 17   Rather, the Stipulation asserts as a recital only that it paid for reasonably equivalent value for certain
 18   of the 12,546 files belonging to CLG Acquired Clients, and “agreed to pay 40% of the revenue
 19   earned form the CLG Acquired Clients”, referred to as “CLG Fee Share Clients.” It is unclear
 20   whether the Trustee has validated CLG’s assertion that it is contractually entitled to retain 60% of
 21   the revenues generated from the LPG Fee Shared Clients or is legally obligated to do so under
 22   applicable law. Additionally, although the Committee welcomes the provision that CLG provide a
 23   declaration to the Trustee regarding CLG’s lack of any personal, business, or financial
 24   arrangements with LPG or Tony Diab, and other relevant information, the Trustee has not provided
 25   such declaration or other information in support of the Motion. Moreover, there is no discussion
 26   4
       Motion of Trustee Richard A. Marshack for Entry of an Order (A) Approving Sale, Subject to
      Overbid, of Assets Free and Clear of All Liens, Claims, Encumbrances and Interests Pursuant to
 27   11 U.S.C. § 363(b) and (B) Approving Assumption and Assignment of Certain Executory Contracts
      and Unexpired Leases and Other Agreements [Docket No. 191] (the “Sale Motion”)
 28

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  1   or confirmation that the LPG Fee Shared Clients transferred to CLG have consented to the transfer
  2   or that CLG has complied with applicable law to effectuate the transfer.
  3          The Committee is not opposed to the Trustee’s partial settlement of claims against CLG
  4   under all circumstances. Indeed, the Committee does not object to the concurrently-filed motion
  5   to approve a settlement with three other fraudulent transfer defendants. The Trustee’s concern is
  6   whether the settlement is necessary for a sale, enhances the interests of the Estate, and protects
  7   consumers. The Motion simply is not supported by sufficient evidence to address any of these
  8   concerns.
  9                                                   II.
 10                                    FACTUAL BACKGROUND
 11   A.     General Background
 12          On March 20, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for relief
 13   under chapter 11 of the Bankruptcy Code.
 14          On May 4, 2023, the Court entered an order [Docket No. 58] appointing the Trustee as
 15   chapter 11 trustee in this Bankruptcy Case. On June 13, 2023, the Trustee filed a motion [Docket
 16   No. 102] for the approval of reimbursement procedures for counsel to a proposed ad hoc committee
 17   of consumer claimants. On June 27, 2023, the Court entered an order [Docket No. 151] approving
 18   a stipulation [Docket No. 149] voluntarily dismissing the ad hoc committee motion in light of the
 19   appointment of the Committee and the agreement that a majority of the Committee’s members will
 20   remain consumer claimants.
 21          On June 23, 2023, the Office of the United States Trustee (the “UST”) appointed [Docket
 22   No. 134] the Committee. On June 29, 2023, the UST expanded [Docket No. 157] the Committee’s
 23   membership from five to seven members. On June 29, 2023, the Committee retained proposed
 24   counsel.
 25   B.     The Trustee Files and Prosecutes the Adversary Proceeding Against CLG.
 26          On May 25, 2023, the Trustee filed a complaint [Adv. Docket No. 1], that was subsequently
 27   amended [Adv. Docket No. 62], in the Adversary Proceeding against, among others, CLG. As set
 28   forth more fully in the Complaint, the Debtor’s former owner, Tony Diab, “transferred [the

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  1   Debtor’s] entire business to new law firms free of [the Debtor’s] obligations to its creditors,”
  2   including transfers to CLG. See Am. Compl., at ¶ 66. The Trustee alleged that CLG was one of a
  3   series of “alter egos” of the Debtor to which “Diab sold [client files] with little or no consideration
  4   or fraudulently transferred additional LPG client files.” Id., at ¶¶ 67. “At or around the Petition
  5   Date, Diab admitted that [the Debtor] had transferred approximately . . . 12,000 [customer] files to
  6   CLG (approximately $3.3 million in revenue).” Id., at ¶ 69. “Diab is using [CLG] to re-direct LPG
  7   funds for his own personal gain and avoid the protections afforded creditors and the Estate under
  8   the Bankruptcy Code.” Id., at ¶ 71.
  9          On May 26, 2023, the Court entered a temporary restraining order [Adv. Docket No. 13]
 10   enjoining CLG from, among other things, siphoning-off the Debtor’s assets. On June 23, 2023, the
 11   Court entered a preliminary injunction [Adv. Docket No. 70] granting the estate similar relief
 12   against CLG.
 13          On June 30, 2023, the Trustee filed a stipulation [Adv. Docket No. 81] with CLG
 14   concerning a “partial settlement of claims” that is currently set [Docket No. 182] for hearing (on
 15   shortened notice) on July 11, 2023 as a compromise.
 16                                                     III.
 17     THE TRUSTEE HAS NOT SATISFIED HIS BURDEN OF DEMONSTRATING THAT
 18           THE PROPOSED COMPROMISE IS IN THE BEST INTERESTS OF THE
 19    BANKRUPTCY ESTATE AND COMPLIES WITH THE A&C PROPERTIES FACTORS
 20          Federal Rule of Bankruptcy Procedure 9019 authorizes a bankruptcy court to approve a
 21   compromise or settlement in a pending bankruptcy case. The Ninth Circuit has determined that
 22   “there must be more than a mere good faith negotiation of a settlement by the trustee in order for
 23   the bankruptcy court to affirm a compromise agreement.” Martin v. Kane (In re A & C Properties),
 24   784 F.2d 1377, 1381 (9th Cir. 1986). “The court must also find that the compromise is fair and
 25   equitable.” Id. “The trustee, as the party proposing the compromise, has the burden of persuading
 26   the bankruptcy court that the compromise is fair and equitable and should be approved.” Id.
 27          In determining the fairness, reasonableness and adequacy of a proposed settlement, the
 28   bankruptcy court must consider:

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  1
                      (a) The probability of success in the litigation; (b) the difficulties, if
  2                   any, to be encountered in the matter of collection; (c) the complexity
  3                   of the litigation involved, and the expense, inconvenience and delay
                      necessarily attending it; (d) the paramount interest of the creditors
  4                   and a proper deference to their reasonable views in the premises.

  5   Id. (citations omitted).

  6           “[T]he factors should be considered as a whole to determine whether the settlement

  7   compares favorably with the expected rewards of litigation.” Greif & Co. v. Shapiro (In re W.

  8   Funding Inc.), 550 B.R. 841, 851 (B.A.P. 9th Cir. 2016), aff'd, 705 F. App’x 600 (9th Cir. 2017).

  9   While the trustee’s business judgment is ordinarily afforded deference, “particularly in the face of

 10   opposition by creditors, the requirement of court approval means that the responsibility ultimately

 11   is the court’s.” Simantob v. Claims Prosecutor, LLC (In re Lahijani), 325 B.R. 282, 288-89 (B.A.P.

 12   9th Cir. 2005). As the Ninth Circuit has explained, courts must afford due deference to creditor

 13   objections to a compromise. A & C Properties, 784 F.2d at 1382 (“[W]hile creditors’ objections

 14   to a compromise must be afforded due deference, such objections are not controlling, and while the

 15   court must preserve the rights of the creditors, it must also weigh certain factors to determine

 16   whether the compromise is in the best interest of the bankrupt estate.”) (citations omitted).

 17           In the instant case, the Trustee has not satisfied his burden of demonstrating that the

 18   proposed settlement with CLG is a reasonable exercise of his business judgment:

 19   A.      Probability of Success in Litigation

 20           The Trustee simply states that the “Stipulation provides the Trustee with the relief sought

 21   against CLG in the Adversary Proceeding with respect to the LPG Fee Shared Clients and preserves

 22   any other claims of the Trustee against CLG, regarding the LPG Acquired Clients or other matters.

 23   With respect to the LPG Fee Shared Clients, the Stipulation provides the relief sought in the

 24   Complaint without the risks and expenses of further litigation.”

 25           Notably, nowhere in the Motion does the Trustee address the relative strengths and

 26   weaknesses of the Trustee’s claims against CLG or CLG’s defenses. However, the Court has

 27   already issued a TRO and Preliminary Injunction, which is indicative that the Trustee is likely to

 28   succeed on the merits. The generic statement that “the relief sought in the Complaint without the

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  1   risks and expenses of further litigation” does not address the propriety of the purported agreement
  2   between the Debtor and CLG with respect to the LPG Fee Shared Clients, or even describe the
  3   circumstances under which such agreement was entered into. Given the totality of the
  4   circumstances and record before the Court, the first A & C Properties factor weighs against
  5   approval of the Stipulation – at least without more information.
  6   B.     Difficulties of Collection
  7          No evidence has been submitted regarding any potential collection difficulties the Trustee
  8   might encounter in the event litigation against CLG were to continue and the Estate were to prevail.
  9   Rather, the Trustee simply notes that CLG is required to share information with the Trustee to
 10   verify payments earned on LPG Fee Shared Clients and that the payment structure provides the
 11   Trustee with all the benefits of CLG servicing the LPG Fee Shared Clients without the expense and
 12   delay of obtaining a judgment to recovery any fees owed for those matters. While this explanation,
 13   if supported by sufficient evidence regarding the propriety and circumstances related to the
 14   agreement purportedly entered into between the Debtor and CLG, and complies with applicable
 15   non-bankruptcy law, may weigh in favor of approval, there is no evidence that collection will be
 16   difficult if judgment is entered in the Trustee’s favor.
 17   C.     Complexity of Litigation, Expense, Inconvenience and Delay
 18          The Trustee provides some credible argument that an accounting will be required for each
 19   file once the respective rights of the Trustee and CLG had been adjudicated, and that CLG has
 20   asserted it has defenses to the Trustee’s claims to avoid and recover the transfer of the LPG Fee
 21   Shared Clients. While the fraudulent transfer claims do not appear to be complex – and the Court
 22   has already issued a TRO and Preliminary Injunction finding the transfer of client files to be
 23   fraudulent – the Committee acknowledges that there will be some expense, inconvenience, and
 24   delay of further litigation on the LPG Fee Shared Clients. However, the key issue is whether the
 25   anticipated expense, inconvenience and delay justifies the fee sharing arrangement embodied in the
 26   Stipulation. The Trustee has not presently demonstrated that it does.
 27

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  1   D.     Paramount Interest of Creditors
  2          The Trustee asserts that this Stipulation is in the best interest of creditors because it permits
  3   CLG to service the LPG Fee Shared Clients while providing income to the estate in the form of
  4   40% of revenues generated by the LPG Fee Shared Clients. The Trustee notes that even if he
  5   recovered the LPG Fee Shared Clients, those matters would require legal work and representation
  6   that the Debtor is unable to provide.
  7          Once again, the Trustee has not demonstrated that a 60-40% fee sharing arrangement in
  8   CLG’s favor is in the best interest of creditors – particularly, when CLG may not be the successful
  9   bidder and a recovery of 100% of the fees generated may be more valuable to the bankruptcy estate.
 10   Any purchaser – whether CLG or another party – would presumably continue to service these LPG
 11   Fee Shared Clients. The Trustee should be required provide additional evidence and analysis of
 12   the pros and cons of settling with CLG in exchange for 40% of the revenue from the LPG Fee
 13   Shared Clients. Importantly, it is unclear whether CLG is entitled to collect funds from consumers
 14   that are collected from LPG Fee Shared Clients, or whether the Trustee is entitled to use such funds
 15   remitted by CLG to pay the estate’s operating expenses.
 16   E.     Additional Observations
 17          Finally, the Committee is concerned that CLG appears to be wearing several hats in this
 18   Bankruptcy Case. CLG is a defendant in the Adversary Proceeding in which the Trustee seeks to
 19   avoid and recover certain fraudulent transfers including the transfer of client files to CLG. The
 20   Court has issued an injunction that is designed to give the Trustee control over such files and funds
 21   and prevent CLG from using any such funds from LPG Fee Shared Clients. While judgment has
 22   not yet been entered, there is no indication that CLG has valid defenses to the claims. CLG is also
 23   the proposed bidder under the Sale Motion. CLG, through its affiliate is also a post-petition lender,
 24   loaned the estate approximately $560,000 on a super-priority basis. The loan was ostensibly made
 25   in connection with the proposed sale of the estate’s assets to CLG, and the APA provides that CLG
 26   is to be repaid from the $1 million deposit to be submitted in connection with the sale.
 27          The Committee notes that the Stipulation requires, among other things, that CLG provide a
 28   declaration to the Trustee regarding CLG’s lack of any personal, business, or financial

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  1   arrangements with the Debtor or Tony Diab, aside from its alleged purchase of the CLG Acquired
  2   Clients or anything else that has been disclosed to the Trustee, and other relevant information. It
  3   is unclear whether CLG has complied with this requirement as no such declaration or information
  4   concerning CLG’s compliance has been submitted in support of the Motion. At a minimum, the
  5   Trustee should disclose CLG’s pre- and post-petition relationship with the Debtor, Tony Diab or
  6   any of the named defendants in the Adversary Proceeding and their affiliates. Such information is
  7   needed to determine whether the Stipulation was entered into in good faith, whether the fee sharing
  8   arrangement was supported by reasonable consideration, and whether the proposal for CLG to
  9   retain 60% of the revenue derived from the CLG Shared Clients is in the best interest of the estate.
 10          Finally, the Motion does not address whether any of the LPG Shared Clients were aware of
 11   or otherwise consented to CLG’s servicing these clients, and whether CLG is currently in
 12   compliance with all applicable law. Additional disclosure is required.
 13                                                     IV.
 14                                             CONCLUSION
 15          While the Committee understands the current difficulties under which the Trustee is forced
 16   to operate and is certainly interested in maximizing value for the benefit of unsecured creditors, the
 17   Committee is concerned that the proposed settlement with CLG may give up potentially valuable
 18   property rights without sufficient information. The Committee is pragmatic and is not currently
 19   taking the position that the CLG settlement is not in the best interest of the bankruptcy estate and
 20   its creditors. However, the Trustee should be required to submit additional evidence and analysis
 21   as required by the Ninth Circuit under the A&C Properties test to enable the Committee and other
 22   parties in interest determine whether the proposed settlement is in the best interest of the estate and
 23   complies with applicable non-bankruptcy law.
 24   Dated: July 11, 2023                           Respectfully submitted,
 25                                                  FOX ROTHSCHILD LLP
 26                                                  By: Keith C. Owens
                                                     Proposed Counsel to Official Committee
 27                                                  of Unsecured Creditors
 28

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 1                                  PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 10250 Constellation Boulevard, Suite 900, Los Angeles, CA 90067.
 3
     A true and correct copy of the foregoing documents entitled: OFFICIAL COMMITTEE OF
 4   UNSECURED CREDITORS’ CONDITIONAL OPPOSITION AND RESERVATION OF RIGHTS TO
     CHAPTER 11 TRUSTEE’S MOTION AND MOTION FOR ORDER APPROVING STIPULATION
 5   BETWEEN THE DEBTOR; CONSUMER LEGAL GROUP, PC; LGS HOLDCO, LLC; AND SET
     FORTH, INC. F/K/A DEBTPAYPRO on the judge in chambers in the form and manner required by LBR
 6   5005-2(d); and (b) in the manner stated below:
 7   1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
     to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 8   hyperlink to the document. On 7/11/2023, I checked the CM/ECF docket for this bankruptcy case or
     adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
 9   receive NEF transmission at the email addresses stated below:
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10           Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com

11   2.     SERVED BY UNITED STATES MAIL: On July 11, 2023, I served the following persons and/or
     entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
12   correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
     as follows.
13
     Parties not on ECF but require service of filings:
14
     Grobstein Teeple LLP
15   23832 Rockfield Blvd suite 245
     Lake Forest, CA 92630
16
     Jason Patterson Stopnitzky
17   52 Cupertino Circle
     Aliso Viejo, CA 92656
18

19    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
     OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
20   LBR, on July 11, 2023, I served the following persons and/or entities by personal delivery, mail service, or
     (for those who consented in writing to such service method), by facsimile transmission and/or email as
21   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
     judge will be completed no later than 24 hours after the document is filed.
22
     The Honorable Scott C. Clarkson
23   United States Bankruptcy Court, Central District of California
     411 West Fourth Street, Suite 5130 / Courtroom 5C
24   Santa Ana, CA 92701-4593
25

26
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct
27
         7/11/2023                Kimberly Hoang                                 /s/ Kimberly Hoang
28       Date                        Printed Name                                         Signature
